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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA                              )
                                                      )
       Plaintiff,                                     )
                                                      )
 v.                                                   ) CRIMINAL NO. 07-30178-WDS
                                                      )
KENNETH TALTON,                                       )
                                                      )
       Defendant.                                     )

                                  MEMORANDUM & ORDER
STIEHL, District Judge:

       Before the Court are several pre-trial motions. Upon review of the record, the Court

rules as follows:

       1. Defendant’s motion for a bill of particulars (Doc. 439) and Defendant’s motion to

dismiss for improper venue (Doc. 461). In these motions, the defendant assets that the language

of the Fourth Superseding Indictment does not establish that the defendant’s actions, or any

alleged acts pertaining to him occurred within the Southern District of Illinois. The defendant

asserts that the discovery provided reveals that all of his alleged activities occurred within the

State of Missouri.

       Pursuant to Fed. R. Crim. P. Rule 18 prosecution is appropriate “in a district in which the

offense was committed.” (See also Article III, Section 2 of the Constitution and Const. amend.

VI.) An offense may be begun in one district and completed in another or may be committed in

more than one district, and accordingly may be prosecuted in any of such districts. 18 U.S.C.

§ 3237. See, United States v. Chappell, 854 F.2d 190, 192 (7th Cir. 1988). Proper venue is not

limited to districts where the defendant was physically present when he committed the unlawful

acts that comprise the crimes charged. So long as he did something in furtherance of the
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conspiracy that was intended to have an effect in the district where the case is finally brought,

venue in that district is proper. See, e.g., United States v. Lewis, 676 F.2d 508, 511 (11th Cir.

1982) (phone call from defendant in Florida to Texas sufficient to establish venue in Texas);

United States v. Schmucker-Bula, 609 F.2d 399, 402 (7th Cir. 1980); United States v. Spiro, 385

F.2d 210, 212 (7th Cir. 1967).

       Some criminal statutes specify where a crime should be deemed to have occurred, but if

the statute does not specify, the general venue statute, 18 U.S.C. § 3237(a), applies. See United

States v. Ringer, 300 F.3d 788, 791 (7th Cir. 2002). When Congress has not specifically defined

where a crime should be determined to have occurred, the “locus delicti must be determined

from the nature of the crime alleged and the location of the act or acts constituting it.” United

State v. Anderson, 328 U.S. 699, 703 (1946). “To determine venue, we examine the key verbs in

the statute defining the criminal offense to find the scope of the relevant conduct.” United States

v. Tingle, 183 F.3d 719, 726 (7th Cir. 1999). If the crime consists of distinct parts which occurred

in different places, or involved “a continuously moving act,” venue is proper where any part of

the crime occurred. Travis v. United States, 364 U.S. 631, 636 (1961).

       Here, the defendant, along with his co-defendants, is charged in a single count Fourth

Superseding Indictment, which alleges that from on or about January 2003 until November 2007,

the defendant with others, conspired and agreed with each other and with previously indicted co-

conspirators and others both known and unknown to the grand jury to knowingly and

intentionally distribute and possess with intent to distribute, a mixture or substance containing

cocaine base, in the form commonly known as “crack,” and cocaine hydrochloride, both

Schedule II controlled substances, in violation of 21 U.S.C. 21 §§ 843(a)(1), 841(b)(1)(A) and


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846. The conspiracy is charged as having occurred in the Southern District of Illinois, the

Eastern District of Missouri and elsewhere.

       The venue in this District, is, therefore, proper and the motions for a bill of particulars

and to dismiss for improper venue are DENIED on all grounds raised.

       2. Government’s motion in limine that the defendant be prohibited from mentioning

punishment to the jury. At the final pre-trial in this case, the Court granted a similar motion

made by the government. The Court’s ruling is the same in this case and the motion is

GRANTED. Defendant’s counsel may not argue punishment to the jury as part of the

defendant’s case or in arguments to the jury.

IT IS SO ORDERED.

DATE: March 27, 2009.



                                                 s/ WILLIAM D. STIEHL
                                                    DISTRICT JUDGE




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